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Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 3 of 46 PageID #:1375
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 4 of 46 PageID #:1376
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 5 of 46 PageID #:1377
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 6 of 46 PageID #:1378
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 7 of 46 PageID #:1379
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 8 of 46 PageID #:1380
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 9 of 46 PageID #:1381
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 10 of 46 PageID #:1382
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 11 of 46 PageID #:1383
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 12 of 46 PageID #:1384
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 13 of 46 PageID #:1385
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 14 of 46 PageID #:1386
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 15 of 46 PageID #:1387
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 16 of 46 PageID #:1388
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 17 of 46 PageID #:1389
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 18 of 46 PageID #:1390
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 19 of 46 PageID #:1391
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 20 of 46 PageID #:1392
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 21 of 46 PageID #:1393
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 22 of 46 PageID #:1394
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 23 of 46 PageID #:1395
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 24 of 46 PageID #:1396




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Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 26 of 46 PageID #:1398
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 27 of 46 PageID #:1399
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 28 of 46 PageID #:1400
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 29 of 46 PageID #:1401
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 30 of 46 PageID #:1402
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 31 of 46 PageID #:1403
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 32 of 46 PageID #:1404
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 33 of 46 PageID #:1405
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 34 of 46 PageID #:1406
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 35 of 46 PageID #:1407
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 36 of 46 PageID #:1408
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 37 of 46 PageID #:1409
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 38 of 46 PageID #:1410
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 39 of 46 PageID #:1411
Case: 1:18-cv-05369 Document #: 40-2 Filed: 12/05/18 Page 40 of 46 PageID #:1412
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